       Case 3:12-cr-00628-H   Document 32   Filed 04/02/12   PageID.62   Page 1 of 1
                                                                              FILED
                         UNITED STATES DISTRICT COURT                           liP::) _
                                                                               r.l.\
                                                                                          nIJ ?"'2
                                                                                              ,-U i
                                                                                                 ..---l
                       SOUTHERN DISTRICT OF CALIFORNIA                          K, u.s. DtioTRICT COURT
                                                                              ,AN DISTRICT Of CAUFORN
                                                                                                      DEPU1

UNITED STATES OF AMERICA,                   CASE NO. 12CR0628-H

                        Plaintiff,
                vs.                         JUDGMENT OF DIS~SSAL
FARREN ELDER ( 02) ,

                        Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

~     an indictment has been filed in another case against the defendant and
      the Court has granted the motion of the Government for dismissal of
      this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

      the Court has granted the motion of the Government for dismissal; or

      the Court has granted the motion of the defendant for a judgment of
      acquittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

-X­   of the offense(s) of: 21 USC 952,960 and 963; 18 USC 2


           IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 03/29/12                              ~Ahvv~
                                             RUBEN B. BROOKS
                                             UNITED STATES DISTRICT JUDGE



                                             ENTERED ON
